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                    IN THE UNITED S TATES DIS TRICT COURT
                   FOR THE NORTHERN DIS TRICT OF FLORIDA
                            PENS ACOLA DIVIS ION

DARIUS EAS T,

                       Plaintiff,

        v.                                             Case No. 3:19cv1398/RV/EMT

DISCOVER PRODUCTS, INC.,

                       Defendant.
                                               /

                                    ORDER OF DIS MIS S AL

        Th e Co u rt h a vin g b e e n a d vis e d th a t th is m a tte r h a s b e e n
co m p ro m is e d a n d s e ttle d b e tw e e n th e p a rtie s , it is ORDERED:
        (1) Th is ca u s e is h e re b y DIS MIS S ED, with p re ju d ice a n d w ith o u t
ta xa tio n o f cos ts .
        (2) In th e e ve n t s e ttle m e n t is n o t con s u m m a te d fo r a n y re a s o n ,
th e Co u rt re s e rve s th e p o w e r, u p o n m o tio n file d b y a n y p a rty w ith in
60 d a ys a fte r d a te , to a m e n d , a lte r o r va ca te a n d s e t a s id e th is o rd e r o f
d is m is s a l.
        DONE AND ORDERED th is 13th d a y o f Au g u s t, 2019.

                                               /s / Roger Vinson
                                               ROGER VINS ON
                                               S e n io r Un it e d S t a t e s Dis t rict J u d g e
